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                    Table A: Sandy Flood Insurance Litigation: Tentatively Settled WYO Cases

          Case No.                                               Case Name

1   3:14-cv-00240          Schaffer v. Hartford*
2   3:14-cv-02066          Aboody v. Hartford Fire*
3   3:14-cv-00663          Clancy v. Allstate*
4   3:14-cv-02301          Barber v. Fidelity National Indemnity Insurance Company*
5   1:14-cv-06486          Campbell v. New Jersey Re-Insurance Company*
6   3:14-cv-01689          Dandrea, Raymond v. ABIC *
7   3:14-cv-00935          DeBeauvernet v. Selective *
8   3:14-cv-02294          Derdzikowski v. Wright*
9   3:14-cv-01301          DiMichele & Bell v. Selective *
10 1:14-cv-01438           Feldman v. Fidelity*
11 1:14-cv-03619           Feniello v. Selective *
12 3:13-cv-07872           Fillucco v. Hartford Fire*
13 2:14-cv-02497           Frazier v. Selective *
14 3:13-cv-07329           Germinaro v. Wright*
15 3:14-cv-00597           Harrington v. Wright*
16 3:14-CV-02726           Kabnick v. Allstate*
17 1:14-cv-00245           Kruger v. Selective*
18 3:13-cv-07397           Smiley v. Hartford Fire*
19 1:14-cv-02730           Vinsko v. Selective *
20 1:14-cv-02732           Wray v. Selective *
21 3:14-cv-01855           Arlotta v. Selective*
22 3:14-cv-00527           Berardi v. Allstate*
23 3:14-cv-01854           Bernoski v. Selective*
24 1:14-cv-03069           Beyel v. Harleysville *
25 3:13-cv-07764           Bondi v. Selective *
26 3:14-cv-00050           Carey v. Liberty Mutual Fire Insurance Co.*
27 3:13-cv-06524           Carney v. Selective *
28 1:14-cv-02599           Chrinick v. Selective *
29 3:14-cv-01364           Daura v. ABIC *
30 3:14-cv-01436           Davey v. Wright*
31 3:13-cv-00048           Fachet v. Wright*
32 1:13-cv-07309           Fazio v. Harleysville *
33 3:13-cv-06450           Halecky v. Hartford Fire*
34 3:14-cv-00496           Hansell v. Selective *
35 1:15-cv-00392           Harris v. Selective*
36 3:14-cv-00818           Held v. Selective *
37 2:14-cv-02309           Hubbard v. ABIC *
38 2:14-cv-02535           Kot v. New Jersey Re-Insurance Company*
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39 3:14-cv-01574     Kouvel v ABIC *
40 3:14-cv-01035     Lepore v. Selective *
41 3:14-cv-00051     Luckie, Michael and Donna v. ABIC *
42 3:14-cv-01491     Matthews v. New Jersey Re-Insurance Company*
43 1:14-cv-02608     Pavloski v. Selective *
44 3:13-cv-07395     Rude v. Wright*
45 3:14-cv-00605     Schulstad v. Selective *
46 3:13-cv-07762     Zwier v. Selective *
47 3:13-cv-07852     Armstrong v. New Jersey Re-Insurance Company*
48 3:14-cv-00820     Cvik v. Allstate*
49 3:14-cv-00052     Donohue v. The Standard Fire Ins. Co.*
50 3:14-cv-01937     Dreger v. Wright*
51 3:14-cv-02010     Flannery v. Selective*
52 3:14-cv-02606     Frazee & Myers v. Wright*
53 2:14-cv-02031     O'Brien v. Selective*
54 3:14-cv-00696     Pascarella v. Selective*
55 3:13-cv-06463     Samayoa v. Stillwater*
56 2:14-cv-05360     Sanders v. Selective*
57 3:14-cv-00176     Sauta v. Selective*
58 3:14-cv-01300     Sevastakis v. Harleysville*
59 3:14-cv-01027     Stokes v. High Point Preferred Ins. Co.*
60 3:14-cv-01718     Underhill v. New Jersey Re-Insurance Company*
61 2:14-cv-04573     Views @ Beach v. Selective*
62 3:14-cv-01566     Becker v. Wright*
63 3:13-CV-07746     Blake v. Allstate*
64 3:14-cv-00788     Chappell v. Hartford Fire*
65 3:14-cv-02033     Cherry vs. Fidelity*
66 3:14-cv-01017     Hackett v. Wright*
67 3:14-cv-00049     Harris v. Selective*
68 2:14-cv-02626     Hoffman v. Selective*
69 3:13-cv-07391     Houseworth v. Selective*
70 2:14-cv-02727     Kalmus v. Selective*
71 3:13-cv-07392     Keenan v. Harleysville*
72 3:14-cv-00604     Marotta v. Selective*
73 3:14-cv-01363     Mongello v. Selective*
74 3:14-cv-00759     Sass v. Selective*
75 1:14-cv-02215     Small v. Selective*
76 1:14-cv-02615     Snell v. Selective*
77 3:14-cv-02011     Valle v. Selective*
78 2:14-cv-06611     Agresti v. The Standard Fire Ins. Co.*
79 3:14-cv-00448     Allen v. Allstate*
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80 3:14-cv-00735      Bockhorn v. Harleysville*
81 1:14-cv-02296      Bye v. Hartford Fire*
82 2:14-cv-02295      Bye v. Hartford Fire*
83 3:14-cv-01306      Capizzi v. Wright*
84 3:14-cv-00050      Carey v. Liberty Mutual Fire Insurance Co.*
85 3:14-cv-01275      Dickinson v. ABIC*
86 3:13-cv-07308      Dorsey v. ABIC*
87 3:14-cv-00525      Fanzini v. Harleysville*
88 3:14-cv-01745      Fitzgerald v. Hight Point Preferred Ins. Co.*
89 2:14-cv-03588      Freeman v. Selective*
90 2:14-cv-03589      Freeman v. Selective*
91 3:14-cv-01747      Giglio v. Harleysville Worcester Ins. Co.*
92 2:14-cv-02348      Hildebrandt v. Selective*
93 2:14-cv-02216      Inacio v. Selective*
94 2:14-cv-03979      Lodge v. Selective*
95 3:14-cv-00173      Noonan v. Pilgrim Insurance Company*
96 3:14-cv-00526      Rice v. Wright*
97 3:14-cv-02611      Shustak v. Wright Flood Ins. Company*
98 3:14-cv-02366      Toole v. Allstate*
99 3:14-cv-02597      Beier v. Allstate*
100 1:14-cv-02441     Castelbuono v. Fidelity*
101 1:14-cv-04027     Dicino v. Fidelity *
102 1:14-cv-02464     Doolittle v. Wright*
103 3:14-cv-01604     Giordano, Gary & Laura v. Allstate*
104 3:14-cv-01082     Glenn v. Harleysville*
105 3:14-cv-00875     Guarino v. Standard Fire Ins. Co.*
106 3:14-cv-00783     Halecky v. Hartford Fire*
107 3:14-cv-00876     Marra v. Wright*
108 3:14-cv-03497     Marvel v. Standard Fire Ins. Co.*
109 3:14-cv-00464     Mazzocchi v. Selective*
110 3:14-cv-00528     McDonald v. Wright*
111 3:14-cv-01962     Miller v. Selective*
112 3:14-cv-00546     Monte v. Selective*
113 1:14-cv-05543     Paley v. High Point Preferred Ins. Co.*
114 3:14-cv-01132     Senatore v. Wright*
115 3:13-cv-07396     Taormina v. ABIC*
116 2:14-cv-03835     Turnquist v. Selective*
117 2:14-cv-02616     Valentin & Clappi v. ABIC*
118 3:14-cv-01962     Jodee Holdings, LLC v. American Bankers Ins. Co. of Florida*
119 2:14-cv-02729     Moser v. Harleysville*
120 2:14-cv-02362     Nitti v. Selective*
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121 3:13-cv-07848     Seward v. Harleysville*
122 1:13-cv-07440     Sypherd v. Harleysville*
123 14-cv-6908        Berry v. Fidelity*
124 14-cv-2096        Callender v. Selective*
125 14-cv-0467        Carver v. American Bankers*
126 14-cv-0799        Castoro v. Selective*
127 14-cv-2273        Childers v. Fidelity*
128 14-cv-2625        Day v. American Bankers*
129 14-cv-2087        Dullard v. High Point*
130 14-cv-4298        Gallo v. Selective*
131 13-cv-7567        Hall v. Selective*
132 14-cv-5968        Leonard v. Allstate*
133 14-cv-3232        Morrice v. American Bankers*
134 14-cv-0603        Nappo v. Selective*
135 13-cv-7394        Pecchio v. Hartford*
136 14-cv-3791        Prestigiacomo v. Harleysville*
137 14-cv-0030        Ruocco v. Standard Fire*
138 14-cv-0877        Scaturo v. Philadelphia Contributorship*
139 2:13-cv-06490     Textol Systems, Inc. v. Harleysville*
140 3:14-cv-00817     Venedam v. Selective*
141 3:14-cv-00599     Wiererlight v. Hartford*
142 14-cv-03896       Allen v. New Jersey Re-Insurance*
143 14-cv-2363        Barrett v. American Bankers*
144 13-cv-7390        Barrett v. Harleysville*
145 14-cv-02173       Breen v. High Point*
146 14-cv-2585        Collani v. Selective*
147 15-cv-00561       Donohue v. Allstate*
148 14-cv-0789        Fronijan v. Wright Flood*
149 14-cv-0401        Giannotti v. Selective*
150 14-cv-0530        Houser v. Hartford*
151 14-cv-5992        Kapitan v. Liberty Mutual*
152 14-cv-0821        Laudise v. Selective*
153 14-cv-6491        Leighton v. Selective*
154 14-cv-6522        Mirenda v. Standard Fire*
155 14-cv-0934        Moro v. Harleysville*
156 14-cv-02336       Munoz v. Allstate*
157 14-cv-1622        Normyle v. Selective*
158 14-cv-05251       Ocean Gables Condo Ass'n v. Selective*
159 13-cv-07623       Paternoster v. American Bankers*
160 14-cv-1943        Berger v. Selective*
161 14-cv-2598        Brennan v. Allstate*
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162 14-cv-2012        Casey v. Selective*
163 13-cv-7757        D'Alesandro v. Selective*
164 14-cv-1307        Fitzpatrick v. Wright Flood*
165 14-cv-2607        Glibsey v. Hartford*
166 14-cv-1744        Golle-Corridan v. High Point*
167 14-cv-7425        Hoey v. American Bankers*
168 14-cv-6490        Leighton v. Selective*
169 14-cv-6492        Olston v. Fidelity*
170 14-cv-2364        Petrosino v. Selective*
171 14-cv-2453        Polnerow v. Wright Flood*
172 13-cv-07330       PADALINO, MARY JEAN vs. SELECTIVE INS. CO. OF AMERICA*
173 13-cv-07745       MORGANTE, ANN vs. ALLSTATE INSURANCE COMPANY*
174 13-cv-07834       NORTHERN EAGLE BEVERAGE CO. vs. SELECTIVE INS. CO. OF AMERICA*
175 14-cv-00047       BOTTALIC, MICHAEL & MICHELLE vs. ALLSTATE INSURANCE COMPANY*
176 14-cv-00076       SMIALOWITZ vs. NEW JERSEY REINSURANCE CO.*
177 14-cv-00598       KYUREGHYAN, ANDRANIK vs. STANDARD FIRE INSURANCE*
178 14-cv-00819       GUAGENTI, RUSSELL (VINGENZA) vs. HARTFORD FIRE INSURANCE CO.*
179 14-cv-01028       LEWIS, ROLAND & DOROTHY vs. SELECTIVE INS. CO. OF AMERICA*
180 14-cv-01081       DADDONA, CHARLES & DOROTHY vs. NEW JERSEY REINSURANCE CO.*
181 14-cv-01134       CALVE, RICK & BETH vs. SELECTIVE INS. CO. OF AMERICA*
182 14-cv-01435       ROSENTHAL, JAY vs. AMERICAN BANKERS INS. CO. FL.*
183 14-cv-01520       TUNBRIDGE, JOAN vs. NEW JERSEY REINSURANCE CO.*
184 14-cv-01856       SHUMSKY, MICHAEL & PATRICIA vs. AMERICAN BANKERS INS. CO. FL.*
185 14-cv-02355       GOOD, SCOTT vs. HARTFORD FIRE INSURANCE CO.*
186 14-cv-02356       ULLAH, ZAIR vs. ALLSTATE INSURANCE COMPANY*
187 14-cv-02361       WHITE, WILLIAM & DIANA vs. AMERICAN BANKERS INS. CO. FL.*
188 14-cv-02466       MCDONALD, MARY vs. SELECTIVE INS. CO. OF AMERICA*
189 14-cv-02526       REHKALT, STELLA vs. NEW JERSEY REINSURANCE CO.*
190 14-cv-02623       PANARELLO, RALPH vs. NEW JERSEY REINSURANCE CO.*
191 14-cv-02627       STREEPER, RONALD vs. ALLSTATE INSURANCE COMPANY*
192 14-cv-02722       LOMBARDI, JOSEPH vs. AMERICAN STRATEGIC INS. CORP.*
193 14-cv-02728       MATA, SALLY ANN vs. NEW JERSEY REINSURANCE CO.*
194 14-cv-02895       BENCH, TOM vs. SELECTIVE INS. CO. OF AMERICA*
195 14-cv-03262       STEHLGENS, ROBERT & CAROL vs. ALLSTATE INSURANCE COMPANY*
196 14-cv-03506       VESUZIO II INC. vs. SELECTIVE INS. CO. OF AMERICA*
197 14-cv-04091       JENKINS, BERNARD vs. SELECTIVE INS. CO. OF AMERICA*
198 14-cv-04093       DASILVA, JOAQUIM vs. NATIONWIDE MUTUAL FIRE INS. CO*
199 14-cv-04097       CAROZZA, ANTHONY vs. SELECTIVE INS. CO. OF AMERICA*
200 14-cv-04178       ALIA, SCOTT AND BAMBI vs. PILGRIM INSURANCE COMPANY*
201 14-cv-04180       VITOLLO, JOHN vs. AMERICAN BANKERS INS. CO. FL.*
202 14-cv-06350       MANKS, MICHAEL & SUSAN vs. SELECTIVE INS. CO. OF AMERICA*
203 14-cv-06756       MCALINDIN, BRIAN vs. HARTFORD FIRE INSURANCE CO.*
204 14-cv-1520        DWYER, HELEN M vs. NEW JERSEY REINSURANCE CO.*
205 14-cv-6543        PEELER, JEFFREY & MANDY vs. SELECTIVE INS. CO. OF AMERICA*
206 14-cv-7424        FLANNERY, NEIL vs. HARTFORD FIRE INSURANCE CO.*
207 15-cv-00874       BAIK, DONNA & SEOUNG vs. SELECTIVE INS. CO. OF AMERICA*
208 15-cv-01651       STEVENS, DEBORAH vs. NEW JERSEY REINSURANCE CO.*
209 15-cv-0230        LIGUORI, LIANNE & ANITA vs. ALLSTATE INSURANCE COMPANY*
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210 14-cv-00601      CUNNINGHAM, DENNIS P. AND DENISE A. vs. AMERICAN BANKERS INS. CO. FL.*
211 14-cv-00606      DACHOWSKI, MICHAEL vs. HARLEYSVILLE MUTUAL INS. CO.*
212 14-cv-01276      EARLES, STEVE vs. ALLSTATE INSURANCE COMPANY*
213 14-cv-02378      CERVINO, MICHEAL AND ANTHONY vs. WRIGHT NATIONAL FLOOD INS. CO.*
214 14-cv-02951      HYLAND DESIGN GROUP INC vs. HARTFORD FIRE INSURANCE CO.*
215 14-cv-03208      COSTELLO, JOHN V. AND PAULINE W. vs. LIBERTY MUTUAL FIRE INS. CO.*
216 14-cv-05409      HOFFMAN, THOMAS AND MARY vs. SELECTIVE INS. CO. OF AMERICA*
217 15-cv-01959      LACY, CLIFTON & ELLEN v. ALLSTATE INS. CO.*
218 14-cv-05546      MAMAKOS, THOMAS vs. SELECTIVE INS. CO. OF AMERICA*
219 14-cv-06507      BRICE, COLEMAN vs. WRIGHT NATIONAL FLOOD INS. CO.*
220 14-cv-06509      LAMBERTI, PATRICIA vs. SELECTIVE INS. CO. OF AMERICA*
221 14-cv-06510      DELLISANTI, FRANCINE vs. HARTFORD FIRE INSURANCE CO.*
222 14-cv-06588      CROSS, FRANCIS AND ROSANNA vs. WRIGHT NATIONAL FLOOD INS. CO.*
223 14-cv-06619      157 BEACHFRONT LLC vs. SELECTIVE INS. CO. OF AMERICA*
224 14-cv-07414      HOROWITZ, NATHAN/CAROL vs. LIBERTY MUTUAL FIRE INS. CO.*
225 14-cv-07492      BELON-BANKS, PATRICIA vs. STANDARD FIRE INSURANCE*
226 15-cv-00728      13 RIVER STREET, LLC vs. HARTFORD FIRE INSURANCE CO.*
227 15-cv-00729      18 BEACH ST. LLC vs. HARTFORD FIRE INSURANCE CO.*
228 15-cv-00730      19 BEACH ST. LLC vs. HARTFORD FIRE INSURANCE CO.*
229 15-cv-00731      21 BEACH ST. LLC vs. HARTFORD FIRE INSURANCE CO.*
230 15-cv-01645      CODDINGTON, RUSSELL AND VIVIAN vs. SELECTIVE INS. CO. OF AMERICA*
231 15-cv-02116      KORTE, JEAN vs. AMERICAN BANKERS INS. CO. FL.*
232 15-cv-02214      PETROZZINI, J. DOUGLAS/MARY D. vs. WRIGHT NATIONAL FLOOD INS. CO.*
233 15-cv-02233      ALONSO, ERMERIO vs. RURAL COMMUNITY INSURANCE CO.*
234 15-cv-02711      DONATO, MICHELE vs. SELECTIVE INS. CO. OF AMERICA*
235 13-cv-04822      BAUSO, DONNA v. AMERICAN BANKERS*
236 14-cv-06163      CHAPMAN, DANIEL & PAULA v. AMERICAN BANKERS*
237 13-cv-06987      LARKIN, HARRY & JENNIFER v. AMERICAN BANKERS*
238 14-cv-08810      WITTER, CHRIS v. AMERICAN BANKERS*
239 13-cv-04662      MALONE, JENNIFER v. ALLSTATE*
240 13-cv-04889      GELLER, DAVID & ANNE v. HARLEYSVILLE INS CO.*
241 13-cv-06713      DEMAYO, MICHAEL & DANIELLE v. HARLEYSVILLE INS. CO.*
242 13-cv-05867      CAPE MAY PROPERTIES C/O JOHN FILLMORE v. HARLEYSVILLE INS. CO.*
243 14-cv-04591      MOSCATELLO, GIBERT v. FIDELITY NATIONAL INDEMNITY INS. CO.*
244 13-cv-06357      TOOLE, LAURENCE & MARTIN v. FIDELITY NATIONAL INDEMNITY INS. CO.*
245 14-cv-04736      WEISS, RENEE & STUART v. SELECTIVE INS. CO.*
246 13-CV-07905      WATSULA, ALBERT v. SELECTIVE INS. CO.*
247 13-cv-06709      PRUTZMAN, BARABARA & WILLIAM v. SELECTIVE INS. CO.*
248 13-cv-05479      HIRST, ROBERT & LINDA v. SELECTIVE INS. CO.*
249 13-cv-05858      CHASMAR, JOAN v. SELECTIVE INS. CO.*
250 13-cv-04656      CHUCK, PATRICIA & ANTHONY v. NEW JERSEY RE-INSURANCE CO.*
251 13-cv-06988      MILLER, WAYNE v. NEW JERSEY RE-INSURANCE*
252 13-cv-07304      DIRADO, FAUSTO & DEBRA v. STANDARD FIRE INS. CO.*
253 14-cv-04069      BENNETT, GILBERT V. SELECTIVE*
254 13-cv-06706      CLARK, BRUCE & BARBARA v. FIDELITY*
255 13-cv-07716      DEACON, CHARLES v. AMERICAN BANKERS*
256 13-cv-06742      DRUCKER, KAREN v. SELECTIVE*
257 13-cv-06562      EVANS, KEITH & SALLY v. FIDELITY NATIONAL*
258 13-cv-06766      ELIZABETH T. FRANK TRUST v. AMERICAN BANKER*
259 13-cv-06294      GRAY, GERALD v. HARTFORD*
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 260 14-cv-00133               HUMBLIAS, CHARLES & OLGA v. HARTFORD*
 261 13-cv-06459               KEARNEY, KATHLEEN v. FIDELITY NATIONAL*
 262 13-cv-06425               LEARY, RICHARD v. NATIONAL INDEMNITY*
 263 14-cv-07439               HANANIA, ELIZABETH & EUGENE v. SELECTIVE*
 264 13-cv-07413               LONSDALE, SHARON RAY v. FIDELITY*
 265  14-cv-06389              MAKOS, FRANCIS & MARGIE v. FIDELITY*
 266 14-cv-00110               MARSELLE DANIEL & CRISTINA v. HARLEYSVILLE*
 267 14-cv-04709               MOORE, ERIC & LORRAINE v. HARTFORD*
 268 13-cv-06632               MOSER, PATRICIA v. FIDELITY*
 269 13-cv-04858               ROSTOCK, ANTHONY & LYNNE v. SELECTIVE*
 270 13-cv-04640               SIMPSON, ANDY v. HARLEYSVILLE*
 271 14-cv-06057               STEVENS, RICHARD v. SELECTIVE*
 272 13-cv-05528               ZENGEWALD, BRIAN v. LIBERTY*
 273 14-cv-05066               ALINO, CHRISTOPHER v. FIDELITY*
 274 14-cv-02270               ANDRIANI, RUDY & PENNY v. FIDELITY*
 275 14-cv-01887               BARKASZI v. FIDELITY*
 276 14-cv-00850               BOYCE, DAVID v. FIDELITY NATIONAL*
 277 14-cv-03522               CANTAGALLO, GARY v. FIDELITY*
 278 14-cv-01360               DIPASQUALE, PAUL & LAURA v. HARTFORD*
 279 15-cv-02649               GREENE, RICHARD v. NEW JERSEY MANUFACTURERS*
 280 15-cv-01774               HARTLEY, THOMAS & VIRGINIA v. SELECTIVE*
 281 14-cv-01358               RABINOWITZ, KORY v. ALLSTATE*
 282 13-cv-07246               SADUSKY, DAVID v. SELECTIVE*
 283 15-cv-02369               TERRA, STEVEN & SUSAN v. SELECTIVE*
 284 14-cv-06920               THROPP, PETER & PATRICIA v. SELECTIVE*
 285 14-cv-00654               TROVATO, JOSEPH v. HARTFORD*
*Provisionally settled, pending final approval of all necessary parties.
